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m THE UNITED s'rA'rEs DIsrRlcT coURT " " ` /}'Y/
FoR THE WESTERN DIsTchT or TENNEssEE m w n
WESTERN DIVISION ‘ t -- §§ F'"§ .?: 3a

 

 

UNITED s'rATF.s oF AMERICA -

V.
GEROME MILEY 04cr20005-1-Ma
a/k/a Kassiem ]. Miley 04cr20006-1-Ma -

 

ORDER ON ARRAIGNMENT

 

 
 
  
 

This cause came to be heard on
for this district appeared on behalf of the
counsel:

NAME g , /,/jM/V/AL=_I who is Retained./Appointed.

The defendant, through counsel, waived formal arraignment and entered a plea of not guilty.

the United States Attorney
emment, and the defendant appeared in person and with

 

All motions shall be filed within thirty (30) days from the date hereof unless, for good cause
shown to a District Judge, such period is extended

The defendant, Who is not in Custody, may stand on his present bond.

t/T`.h/e defendant, (not havin ade bond) (being a yee/prisoner) (being a federal
prisoner) (being held Without bond pursuant to BRA of 1 84), is remanded to the custody
of the U.S. Marshai.

_A_/\/ L/‘--/“
UNITED sTATEs MAGrsTRArE JUDGE

CHARGES - 18:1001.F
STATEMENTS OR ENTRIES GENERALLY

Attorney assigned to Case: C. McMullen

Age: 2 5(

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with Ftu\e 55 and/or 32ib) FRCrP on la `& z“( 15

 

 

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This notice confirms a copy of the document docketed as number 62 in
case 2:04-CR-20006 Was distributed by faX, mail, or direct printing on
June 23, 2005 to the parties listed.

 

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Honorable Samuel Mays
US DISTRICT COURT

